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                  UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                     Criminal No. 20-203 (PAM/KMM)
___________________________________

United States of America,

                                Plaintiff,
                                                 MOTION FOR COMPLIANCE
vs.                                              WITH FEDERAL RULE OF
                                                 CRIMINAL PROCEDURE 16
Francisco Manuel Rodriguez Valenzuela,

                            Defendant.
___________________________________

      Defendant Francisco Manuel Rodriguez Valenzuela, by and through his

attorney, Steven J. Wright, respectfully moves the Court for the following relief:

       1)    An order requiring the government to disclose and provide an

opportunity to Defendant for inspection, copying, and photographing any

relevant written or recorded statements made by Defendant, those portions of

any written record containing the substance of any relevant oral statement made

by Defendant, any recorded testimony of Defendant before a grand jury that

relates to the offenses charged, and the substance of any other relevant oral

statement made by Defendant if the government intends to use that statement at

trial. Fed.R.Crim.P. 16(a)(1)(A);

       2)    An order requiring the government to provide Defendant with

copies of any handwritten or tape-recorded notes of interviews, debriefings, or


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surveillances of Defendant and the alleged co-conspirators made during this

investigation. Fed.R.Crim.P. 16(a)(1)(A);

      3)       An order requiring the government to provide Defendant with any

statements within the meaning of Rule 16(a)(1)(A) of the Federal Rules of

Criminal Procedure made by his codefendants and alleged co-conspirators,

whether named or unnamed;

      4)       An order requiring the government to provide Defendant with his

criminal record, if any. Fed.R.Crim.P. 16(a)(1)(B);

      5)       An order requiring the government to permit Defendant to inspect,

copy, and photograph all tangible objects, including books, papers, documents,

photographs, buildings, places, tapes, computer disks, or the contents of any

magnetic, optical, or other storage device that are material to the preparation of

Defendant’s defense or are intended for use by the government as evidence in

chief at the trial, or were obtained from or belong to Defendant. Fed.R.Crim.P.

16(a)(1)(C).

      6)       An order requiring the government to provide Defendant with the

results of any physical or mental examinations, scientific tests or experiments,

and permission for Defendant to inspect, copy, and photograph the results or

reports of physical or mental examinations, scientific tests or experiments that

are material to the preparation of the defense or that are intended for use by the


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government as evidence in chief at trial, including but not limited to permission

to inspect or obtain copies of any test results as well as the results of any

fingerprint examinations that may have been performed. Fed.R.Crim.P.

16(a)(1)(D); and,

      7)     An order requiring the government to disclose to Defendant a

written summary of testimony the government intends to use under Rules 702,

703, or 705 of the Federal Rules of Evidence during its case-in-chief at trial

describing the witnesses’ opinions, the basis and reasons for those opinions, and

the witnesses’ qualifications. Fed.R.Crim.P. 16(a)(1)(E).


Dated: October 13, 2020                       Respectfully submitted,

                                               /s/ Steven J. Wright
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                                               Minneapolis, Minnesota 55401
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                                               ATTORNEY FOR DEFENDANT




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